

Hogan v Vandewater (2019 NY Slip Op 03485)





Hogan v Vandewater


2019 NY Slip Op 03485


Decided on May 3, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, DEJOSEPH, CURRAN, AND WINSLOW, JJ.


218 CA 18-01893

[*1]MARK HOGAN AND ELIZABETH HOGAN, INDIVIDUALLY, AND AS PARENTS AND NATURAL GUARDIANS OF JACK A. HOGAN, AN INFANT, AND ITHACA G. HOGAN, AN INFANT, PLAINTIFFS-APPELLANTS,
vDAVID VANDEWATER, FRANK P. ROSE, DEFENDANTS, AND GINA NICOLETTI, DEFENDANT-RESPONDENT. (APPEAL NO. 3.) 






BOSMAN LAW FIRM, LLC, ROME (A.J. BOSMAN OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
BARCLAY DAMON LLP, ROCHESTER (KELSEY TILL THOMPSON OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Lewis County (James P. McClusky, J.), entered May 5, 2017. The judgment, among other things, dismissed plaintiffs' complaint against defendant Gina Nicoletti. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs.
Same memorandum as in Hogan v Vandewater ([appeal No. 1] — AD3d — [May 3, 2019] [4th Dept 2019]).
Entered: May 3, 2019
Mark W. Bennett
Clerk of the Court








